Case 1-18-47256-cec Doc12 Filed 02/01/19 Entered 02/01/19 16:33:15

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

x
In re:
Chapter 11
4921 12 AVENUE LLC,
Case No. 18-47256
Debtor.
xX
NOTICE OF APPEARANCE

PLEASE TAKE NOTICE that Butler, Fitzgerald, Fiveson & McCarthy, P.C.
hereby appears as counsel for Creditor Old Republic National Title Insurance Company, a
Florida corporation licensed with the New York State Department of Financial Services, as
successor in interest to Beis Chasidei Gorlitz, Inc. a/k/a Beis Chasidei Gorlitz, pursuant to Rules
2002, 7005 and 9010 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),
Butler, Fitzgerald, Fiveson & McCarthy, P.C., requests that all notices given or required to be
given in the above-captioned bankruptcy case or adversary proceeding, and all papers served or
required to be served in these cases, be given and served upon the undersigned at the following

office address:

9 East 45" Street, Ninth Floor
New York, New York 10017

PLEASE TAKE FURTHER NOTICE, that the foregoing request includes not
only notices and papers referred to in the Bankruptcy Rules specified above, but also includes,
without limitation, orders and notices of any applications, motions, petitions, pleadings, requests,
complaints or demands, whether transmitted or conveyed by mail, hand delivery, telephone,
telegraph, telex, or otherwise that affects the above-named debtor or debtor in possession, or the

property of such debtor or the debtor’s estate.
Case 1-18-47256-cec Doc12 Filed 02/01/19 Entered 02/01/19 16:33:15

Dated: New York, New York

TO:

February 1, 2019

OFFICE OF THE US TRUSTEE
201 Varick Street, Suite 1006
New York, New York 10014

GALSTER FUNDING LLC
c/o Harry Zubli, Esq.

1010 Northern Blvd., Suite 310
Great Neck, New York 11021

BALISOK & KAUFMAN, PLLC

Attn: Joseph Y. Balisok, Esq.

BUTLER, FITZGERALD, FIVESON

& McCARTHY
A Professional Corporation
Attorneys for Creditor Old Republic
National Title Insurance Company, a Florida
corporation licensed with the New York
State Department of Financial Services, as
successor in interest to Beis Chasidei
Gorlitz, Inc. a/k/a Beis Chasidei Gorlitz

David K. Fiveson (2636)
A Principal of the Firm
Nine East 45th Street, Ninth Floor
New York, New York 10017
(212) 615-2200

Attorneys for Debtor 4921 12th Avenue LLC

251 Troy Avenue
Brooklyn, New York 11213
Tel.: (718) 928-9607

Fax: (718) 534-9747

Email: joseph@lawbalisok.com
Case 1-18-47256-cec Doc12 Filed 02/01/19 Entered 02/01/19 16:33:15

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

X
In re:
Chapter 11
4921 12'* AVENUE LLC,
Case No. 18-47256
Debtor.
x
CERTIFICATE OF SERVICE

STATE OF NEW YORK _ )
) ss.:
COUNTY OF NEW YORK. )

I, David K. Fiveson, hereby declares under penalty of perjury under the laws of
the United States of America, and pursuant to 28 U.S.C. § 1746, that on February 1, 2019, I
caused to be served a copy of form “NOTICE OF APPEARNCE,” by regular mail upon each of
the parties listed on the service list below by depositing true copies of same in sealed envelopes,
with postage pre-paid thereon, in an official depository of the United States Postal Service within
the borough of Brooklyn and the City and State of New York.

Dated: New York, New York
February 1, 2019
Respectfully submitted,

By: /s/ David K. Fiveson

David K. Fiveson (2936)

Butler, Fitzgerald, Fiveson & McCarthy,

A Professional Corporation

Attorneys for Creditor Old Republic National Title
Insurance Company, a Florida corporation licensed
with the New York State Department of Financial
Services, as successor in interest to Beis Chasidei
Gorlitz, Inc. a/k/a Beis Chasidei Gorlitz

9 East 45" Street, Ninth Floor

New York, New York 10017

Tel.: (212) 615-2200

Fax: (212) 615-2215

Email: dfiveson@bffmlaw.com
3
Case 1-18-47256-cec Doc12_ Filed 02/01/19

Service List

OFFICE OF THE US TRUSTEE
201 Varick Street, Suite 1006
New York, New York 10014

GALSTER FUNDING LLC
c/o Harry Zubli, Esq.

1010 Northern Blvd., Suite 310
Great Neck, New York 11021

BALISOK & KAUFMAN, PLLC

Attn: Joseph Y. Balisok, Esq.

Attorneys for Debtor 4921 12th Avenue LLC
251 Troy Avenue

Brooklyn, New York 11213

Tel.: (718) 928-9607

Fax: (718) 534-9747

Email: joseph@lawbalisok.com

Entered 02/01/19 16:33:15
Case 1-18-47256-cec Doc12 Filed 02/01/19 Entered 02/01/19 16:33:15

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

— _- pone eee xe
In re: AFFIDAVIT OF SERVICE
4921 12th AVENUE LLC, Chapter 11
Debtor. Case No. 18-47256
pone eee X

 

STATE OF NEW YORK _ )
COUNTY OF NEW YORK *

RAYMOND Q. SPERLING, being duly sworn, deposes and says: that deponent
is not a party to the action, is over 18 years of age and resides at Nine East 45" Street, Ninth

Floor, New York, New York 10017. That on the 1“ day of February 2019, deponent served the

within NOTICE OF APPEARANCE upon:

OFFICE OF THE US TRUSTEE BALISOK & KAUFMAN, PLLC

201 Varick Street, Suite 1006 Attn: Joseph Y. Balisok, Esq.

New York, New York 10014 Attorneys for Debtor 4921 12th Avenue
LEC

GALSTER FUNDING LLC 251 Troy Avenue

c/o Harry Zubli, Esq. Brooklyn, New York 11213

1010 Northern Blvd., Suite 310
Great Neck, New York 11021

by depositing a true copy of same enclosed in a post-paid wrapper by first class mail, in an

official depository under the exclusive care and custody of the U.S. Postal Service within New

York State. ld) /
\/ fp
Ml ©
RAYMOND. SPERLING vey”

Sworn to before me this

 

 

 

 

7 [Rotary B Public

GRAIL A. MOORE
Notary Public, State of New York
No. 4789402
Qualified in Nassau County
Commission Expires

denver dt to.
Am |W, 2022
